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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK
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YOTAM MAROM AND MIRIAM ROCEK,

                          Plaintiffs,                                 15 CV 2017 (PKC)(SN)
        -against-                                                     PLAINTIFF’S NOTICE OF
                                                                      MOTION FOR TRIAL AND
NYPD SERGEANT FIOR BLANCO, NYPD LEGAL                                 EVIDENTIARY RULINGS
BUREAU LIEUTENANT DANIEL ALBANO,
NYPD LEGAL BUREAU DETECTIVE KENNETH
O’DONNELL, NYPD OFFICER MICHAEL
GALGANO, SHIELD NO. 2671, NYPD OFFICER
CYNTHIA BOYLE, SHIELD 06663,

                                    Defendants.
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        PLEASE TAKE NOTICE that, upon the annexed Memorandum of Law dated

January 24, 2020 in Support of Plaintiff’s Motion In Limine and for certain evidentiary

rulings, and the Declaration of Jessica Massimi, and Exhibits attached thereto and

referenced therein, and all of the prior pleadings and proceedings had herein, Plaintiff,

Miriam Rocek, will move this Court, before the Honorable P. Kevin Castel, United States

District Judge, at the United States Courthouse for the Southern District of New York,

located at 500 Pearl Street, New York, New York, 10007, on a date and time that is

convenient for the Court, for an Order granting Plaintiff’s request for the evidentiary

rulings requested in her attached memorandum of law.

DATED:           January 24, 2020
                 New York, NY
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                                                     /S/
                                ___________________________
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